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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

LATOYA MONROE, individually and on                       §
behalf of minor child, ZS,                               §
                                                         §
        Plaintiff,                                       §
                                                         §
v.                                                       §
                                                         §
ALDINE INDEPENDENT SCHOOL                                §          Civil Action No. __________
DISTRICT,                                                §
                                                         §
                                                         §
LATONYA M. GOFFNEY, in her individual                    §
and official capacity,                                   §
                                                         §
        Defendants.                                      §

                               DEFENDANTS’ NOTICE OF REMOVAL

        Defendants Aldine Independent School District (“Aldine ISD” or the “District”) and

LaTonya M. Goffney file this Notice of Removal, as follows:

                                                   I.
                                           PROCEDURAL HISTORY

        1.           On December 7, 2023, Plaintiffs LaToya Monroe, individually and on behalf of her

minor child, ZS, filed a lawsuit alleging gross negligence, Title IX, and Section 1983 violations: Cause

No. 2023-84399, LaToya Monroe, individually and on behalf of minor child, ZS v. Aldine Independent School

District and LaTonya M. Goffney (the “State Court Lawsuit”). [See Appendix at Exhibit 1]. This cause

of action is currently pending in the 215th Judicial District Court of Harris County, Texas, located at

201 Caroline St., Houston, TX 77002.

        2.           The petition in the State Court Lawsuit asserts causes of action arising under the

United States Constitution and federal statutes. [Id. at Exhibit 1 ¶¶ 32-61].

        3.           The District received a copy of Plaintiffs’ petition and citation on December 13, 2023.

The District filed its Answer on January 5, 2024. [Id. at Exhibit 4].



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        4.      Plaintiff requested a jury trial in his petition. [Id. at Exhibit 1].

                                                II.
                                       GROUNDS FOR REMOVAL

        5.      Because Plaintiffs allege violations of federal law in their petition, Defendants remove

this case on the basis of federal question jurisdiction in accordance with 28 U.S.C. §§ 1331, 1441(a),

and 1446.

        6.      This Notice of Removal is timely filed as required by 28 U.S.C. § 1446(b) because it is

being filed less than 30 days after receipt of the petition. As noted above, the District received a copy

of the State Court Lawsuit on December 13, 2023.

        7.      Defendants are also entitled to remove any claims in the State Court Lawsuit arising

under state law because, in any civil action in which the district court has original jurisdiction, it also

has supplemental jurisdiction over “all other claims that are so related to claims in the action within

such original jurisdiction that they form part of the same case or controversy[.]” 28 U.S.C. § 1367(a).

Plaintiffs’ state law negligence claims are based on the same nucleus of facts that form the basis of

their federal claims. Consequently, the claims are so related and identical that they form part of the

same case or controversy, and the exercise of supplemental jurisdiction under § 1367 is proper.

        8.      Venue is proper in the Southern District of Texas under 28 U.S.C. § 1441(a) because

the state court where the suit is pending is located in this District.

        9.      The District will promptly file a copy of this Notice of Removal, as an attachment to

a Notice of Filing of Notice of Removal, with the clerk of the state court where the action has been

pending.

                                                    III.
                                         STATE COURT FILINGS

        10.     In accordance with 28 U.S.C. § 1446(a) and Local Rule 81, copies of the following

items are attached to this Notice: (1) all executed process in the case, if any; (2) pleadings asserting

causes of action and all answers to such pleadings; (3) all orders signed by the state judge, if any; (4) the

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docket sheet; (5) an index of matters being filed; and (6) a list of all counsel of record, including

addresses, telephone numbers, bar numbers, and parties represented. See Appendix.

                                             IV.
                                    CONCLUSION AND PRAYER

       For these reasons, Defendants Aldine Independent School District and LaTonya M. Goffney

request that this matter be removed to federal court, and pray that they be awarded all such other and

further relief to which they have shown themselves entitled.

                                                      Respectfully submitted,

                                                      THOMPSON & HORTON LLP

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                                  CERTIFICATE OF SERVICE

        On January 12, 2024, I electronically filed the foregoing document with the Clerk of the Court
of the United States District Court for the Southern District of Texas, using the electronic case filing
system of the Court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically using the CM/ECF filing system or by any other manner authorized by Federal Rule of
Civil Procedure 5(b)(2).


                                                   /s/ Christopher B. Gilbert
                                                   Christopher B. Gilbert




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